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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                   Case No: 1:12-cr-123

v.                                                         HON. JANET T. NEFF

SAUL DOUGLAS BRIGGS,

              Defendant.
                                         /


               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed July 26, 2012 by the United

States Magistrate Judge in this action. The Report and Recommendation was duly served on the

parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and Recommendation of the Magistrate Judge (Dkt 70) is APPROVED and

ADOPTED as the opinion of the Court.

       2. Defendant's pleas of guilty are accepted and defendant is adjudicated guilty of the

charges set forth in Count One and Count Two of the Indictment.




Dated: August 13, 2012                        /s/Janet T. Neff
                                             JANET T. NEFF
                                             UNITED STATES DISTRICT JUDGE
